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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  NETLIST, INC.                                 Civil Case No. 2:22cv00293-JRG
                                                (Lead Case)
              Plaintiff,
                                                JURY TRIAL DEMANDED
  v.

  SAMSUNG ELECTRONICS CO., LTD, et al.

              Defendants.


  NETLIST, INC.                                 Civil Case No. 2:22cv-00294-JRG
                                                (Member Case)
             Plaintiff,
                                                JURY TRIAL DEMANDED
  v.

  MICRON TECHNOLOGY TEXAS, LLC, et al.

             Defendants.


                            SAMSUNG’S MOTION TO STAY
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  #   Description
  1   IPR2022-00615, Petition (’912 Patent)
  2   IPR2023-00454, Petition (’417 Patent)
  3   IPR2023-00455, Petition (’215 Patent)
  4   IPR2022-00615, Institution Decision (’912 Patent)
  5   IPR2022-00615, Director Decision Denying Rehearing, Remanding to PTAB (’912 Patent)
  6   IPR2023-00203, Institution Decision, Granting Mtn. for Joinder (’912 Patent) (Micron)




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 I.       INTRODUCTION

          Currently pending before the Court is Samsung’s motion to sever and transfer Netlist’s

 infringement case with respect to the ’912 patent to the Northern District of California (Dkt. 20).

 As set forth in that motion, the Court should sever and transfer the ’912 patent to the N.D. Cal.

 under the first-to-file rule because it is the jurisdiction where Netlist first asserted the ’912 patent

 against Google in 2009, and as to Samsung’s products in 2021. Further, judicial estoppel bars

 Netlist from disputing the substantial overlap between this case and the N.D. Cal. Case.1

          While Samsung believes that motion should be granted for all of the reasons set forth in

 the moving papers, following resolution of that motion, the Court should stay this case pending

 IPR as to the asserted patents that remain in this Court thereafter. Samsung filed IPRs against all

 asserted claims of all asserted patents,2 other than those barred by intervening rights, as set forth

 in Samsung’s pending motion for summary judgment (Dkt. 81).3 The PTO instituted IPR as to

 the ’912 patent, and institution decisions are expected for the remaining patents by August. The

 IPRs will significantly narrow the scope of the case, as they cover all of the asserted claims other


     An independent reason to stay the remaining patents after transferring the ’912 patent to N.D.
      1

 Cal. is set forth in Samsung’s motion to sever and transfer the’912 patent and stay the remaining
 patents pending the Ninth Circuit Appeal, which if successful, would resolve all of Netlist’s
 patent-related disputes with Samsung worldwide (including this case). See Dkt. 20 at 12-13.
 The oral argument for the Ninth Circuit Appeal was held on June 8, 2023, and a video of that
 argument is available at https://www.ca9.uscourts.gov/media/video/?20230608/22-55209/.
 According to the Ninth Circuit’s website (https://www.ca9.uscourts.gov/general/faq/), “most
 cases are decided within 3 months to a year after” oral argument, meaning a decision that could
 dispose of this entire case, as well as all patent litigation between Netlist and Samsung globally,
 could issue as soon as September 2023.
   2
     U.S. Patent Nos. 7,619,912; 11,093,417; and 9,858,215. Netlist also moved for leave to
 assert a fourth patent (Dkt. 62); however, that patent has not been added to the case at this time.
   3
     The claims barred by the doctrine of absolute intervening rights include claims 1, 3, 4, 6, 8,
 10, 11, 15, 18, 19, 20, 22, 24, 27, 28, 29, 31, 32, 34, 36, 37, 38, 39, 40, 41, 43, 45, 46, 47, 50, 52,
 53, 54, 55, 56, 57, 58, 59, 60, 62, 63, 64, 65, 69, 70, 71, 72, 73, 74, 75, 77, and 80-91 of the ’912
 patent. Netlist amended these claims during reexamination and now asserts them against
 Samsung’s legacy DDR2 and DDR3 products that have not been sold since the amended claims
 came into existence. Netlist is, thus, barred from any recovery as to those claims. See Dkt. 81.


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 than those covered by Samsung’s pending motion for summary judgment. The IPRs will also be

 relevant to claim construction (ahead of the October 5, 2023 Markman hearing in this case).

 Netlist faces no prejudice by a stay because it has a history of licensing its patents, and would be

 able to proceed here with its claim for damages if any patents survive IPR. Thus, the factors the

 Court considers in evaluating a stay—simplification of the issues, state of the proceedings, and

 risk of undue prejudice to the plaintiff—weigh in favor of a granting a stay.

 II.    FACTUAL BACKGROUND

        Netlist filed its complaint against Samsung on August 1, 2022, asserting the ’912 patent,

 Dkt. 1, and two weeks later filed its first amended complaint asserting the ’417 and ’215 patents,

 Dkt. 2. Samsung answered the first amended complaint on October 7, 2022. Dkt. 29.

        This case is in the early stages. The Markman hearing is set for October 5, 2023; fact

 discovery closes on November 13, 2023; expert discovery ends on December 23, 2023;

 dispositive motions are due January 8, 2024; and trial is set to begin April 15, 2024. Dkt. 55.

        Samsung has filed IPRs on all asserted claims other than those covered by Samsung’s

 pending motion for summary judgment, Dkt. 81. Ex. 1 (IPR2022-00615) (’912 patent); Ex. 2

 (IPR2023-00454) (’417 patent); Ex. 3 (IPR2023-00455) (’215 patent). For the ’912 patent,

 Samsung filed its IPR on March 22, 2022, months before Netlist’s complaint in this case. Ex. 1.

 For the two patents Netlist later added to this case (the ’417 and ’215 patents), Samsung filed its

 IPRs on January 10, 2023, less than 5 months after Netlist added them to the case. Exs. 2, 3.

                               Actual Filing Notice of Filing
  IPR        Patent Claims                                    Institution Date/ Deadline
                               Date          Date Accorded
  IPR2022- ’912       16       Feb. 17, 2022 Apr. 21, 2022    Instituted Oct., 19, 2022;
  00615                                                       FWD expected Apr. 2024
  IPR2023- ’417       All      Jan. 10, 2023 Feb. 9, 2023     Institution decision due Aug. 9,
  00454                                                       2023; FWD expected Aug. 2024
  IPR2023- ’215       All      Jan. 10, 2023 Feb. 9, 2023     Institution decision due Aug. 9,
  00455                                                       2023; FWD expected Aug. 2024

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 The PTAB instituted IPR for the ’912 patent as to Samsung’s Petition in October 2022, Ex. 4,4

 and as to Micron’s Petition on June 7, 2023, Ex. 6. The remaining institution decisions are due

 by August 9, 2023.

 III.   LEGAL STANDARD

        The Court “has the inherent power to control its own docket, including the power to stay

 proceedings before it.” Ericsson Inc. v. TCL Commc’n Tech. Holdings, Ltd., No. 2:15-CV-

 00011, 2016 WL 1162162, at *1 (E.D. Tex. Mar. 23, 2016). In determining how to manage its

 docket, the district court “must weigh competing interests and maintain an even balance.”

 Customedia Techs. LLC v. DISH Network Corp., No. 2:16-CV-129, 2017 WL 3836123, at *1

 (E.D. Tex. Aug. 9, 2017) (citing Landis v. N. Am. Co., 299 U.S. 248, 254–55 (1936)).

        The Court has inherent authority to stay an action where issues presented can be resolved

 in a pending IPR. A stay pending IPR proceedings is especially justified where the outcome of

 the proceedings will likely simplify the case by helping the court determine validity issues or

 eliminating the need to try infringement issues. Id. (citing NFC Tech. LLC v. HTC Am. Inc., No.

 2:13-CV-1058-WCB, 2015 WL 1069111, at *2 (E.D. Tex. Mar. 11, 2015)). When deciding

 whether to stay a case pending IPR, courts consider “(1) whether the stay will unduly prejudice

 the nonmoving party, (2) whether the proceedings before the court have reached an advanced

 stage, including whether discovery is complete and a trial date has been set, and (3) whether the

 stay will likely result in simplifying the case before the court.” NFC Tech., 2015 WL 1069111,


   4
     On February 3, 2023, the PTO Director initiated review of the institution decision to
 determine whether the IPR as to the ’912 patent was “time-barred under § 315(b) because
 Google is an RPI [real party in interest] or privy with . . . Samsung,” Ex. 5 at 3. A decision on
 remand is expected by July. However, the outcome on remand is not material to this motion,
 because Micron filed an IPR against the ’912 patent, involving the same prior art and challenged
 claims, which the PTAB instituted on June 7, 2023, Ex. 6. The institution decision on the
 Micron IPR does not raise any questions regarding RPI. Id. at 2.
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 at *2. “Based on those factors, courts determine whether the benefits of a stay outweigh the

 inherent costs of postponing resolution of the litigation.” Id.

 IV.    ARGUMENT

        The relevant factors favor a stay pending the institution and results of Samsung’s IPRs.

 A stay will simplify or dispose of the issues, not cause any prejudice, and conserve resources.

        A.      A Stay Will Significantly Simplify or Eliminate Issues

        A stay may eliminate all the issues in this litigation. “[T]he most important factor

 bearing on whether to grant a stay in this case is the prospect that the inter partes review

 proceeding will result in simplification of the issues before the Court.” NFC Tech., 2015 WL

 1069111, at *4; see also Intellectual Ventures II LLC v. Bitco General Ins. Corp., No. 6:15-CV-

 59-JRG, 2016 WL 4394485, at *3 (E.D. Tex. May 12, 2016). “A stay is particularly justified

 when the outcome of a PTO proceeding is likely to assist the court in determining patent validity

 or eliminate the need to try infringement issues.” NFC Tech., 2015 WL 1069111 at *1 (internal

 quotations omitted); see also Uniloc USA, Inc. v. Samsung Elecs. Am., Inc., No. 2:16-CV-642-

 JRG, 2017 WL 9885168, at *1 (E.D. Tex. June 13, 2017) (“[E]ven if the PTAB does not

 invalidate every claim on which it has instituted IPR, there is a significant likelihood that the

 outcome of the IPR proceedings will streamline the scope of this case to an appreciable extent.”).

        The pending IPR petitions address every asserted claim (including all claims asserted

 against Micron in the consolidated Case No 2:22-cv-00294-JRG), other than those covered by

 Samsung’s pending motion for summary judgment regarding a unique set of legacy products

 (DDR2 and DDR3) not accused of infringing any other asserted claim, Dkt. 81. Thus, resolution

 of the IPR petitions will not only simplify the issues but may dispose of this entire case (and the

 consolidated Micron case).



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        If the Court stays this case and the PTAB later invalidates the asserted claims in the IPR

 proceedings, the Court and the parties will save significant costs, time, and resources that they

 would otherwise expend litigating this case. Even if only some of the claims or patents are

 invalidated, the IPR proceedings will inform this Court on issues of construction of claim terms

 that may impact issues of infringement and invalidity. See NFC Tech., 2015 WL 1069111, at *7

 (determining that even where all claims were not reviewed during IPR proceedings, “any

 disposition by the PTAB is likely to simplify the proceedings before this Court”); see also Aylus

 Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1364 (Fed. Cir. 2017) (“[S]tatements made by a

 patent owner during an IPR proceeding, whether before or after an institution decision, can be

 relied upon to support a finding of prosecution disclaimer.”). Further, an immediate stay would

 allow the parties and the Court to avoid the burden and expense of the claim construction

 briefing and hearing process. If Samsung’s motion is denied, the time spent by the Court

 deciding claim construction issues may be futile if the PTAB finds certain claims invalid or

 Netlist takes positions in the IPRs that impact claim scope, such as amending the claims.

        B.      Netlist Will Not Suffer Undue Prejudice from a Stay

        Netlist will not suffer undue prejudice if the Court stays the case. “[W]hether the

 patentee will be unduly prejudiced by a stay in the district court proceedings. . . focuses on the

 patentee’s need for an expeditious resolution of its claim.” VirtualAgility Inc. v. Salesforce.com,

 Inc., 759 F.3d 1307, 1318 (Fed. Cir. 2014). Monetary relief will sufficiently compensate Netlist

 for any purported damages, and a “stay will not diminish the monetary damages to which

 [Netlist] will be entitled if it succeeds in its infringement suit—it only delays realization of those

 damages. . . .” Id. As this Court has determined, a delay of the vindication of patent rights alone

 cannot defeat a motion to stay. See, e.g., NFC Techs., 2015 WL 1069111, at *2.



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        In contrast, Samsung will suffer prejudice without a stay by incurring the burden of

continuing to defend against infringement allegations of three complex patents that the PTAB

may ultimately invalidate. Without a stay, this case will advance toward trial, and the parties and

the Court will continue to invest significant time and resources in preparing the case, especially

as claim construction proceeds over the next few months.

        Rather than cause prejudice, a stay will benefit Samsung, Netlist, and Micron by allowing

them to benefit from the IPR system that Congress intended to aid courts as an essential part of

an “efficient and streamlined patent system that will improve patent quality and limit

unnecessary and counterproductive litigation costs.” Changes To Implement Inter Partes Review

Proceedings, Post-Grant Review Proceedings, and Transitional Program for Covered Business

Method Patents, 77 Fed. Reg. 48680-01 (Aug. 14, 2012) (codified at 37 C.F.R. pt. 42). Because

Samsung filed its IPR petitions well before the one-year deadline, and filed this motion while the

case is still in the early stages, a stay would be particularly effective in limiting litigation costs.

        C.      The Stage of the Case Weighs in Favor of a Stay

        Samsung has pursued IPRs since the early stages of this case. Samsung filed its IPR

petition for the ’912 patent before Netlist even filed its complaint. As for the ’417 and ’215

patents, Samsung filed its IPR petitions just less than five months after Netlist added those

patents to this case. At this point, “[t]he most burdensome parts of the case . . . all lie in the

future.” Cywee Grp. Ltd. v. Samsung Elecs. Co., No. 2:17-CV-140, 2019 WL 11023976, at *1

(E.D. Tex. Feb. 14, 2019). Several months of work remain for the parties and the Court in this

case, which favors granting Samsung’s request for a stay. See, e.g., Norman IP Holdings, LLC v.

TP-Link Techs., Co., Case No. 6:13-CV-384, 2014 WL 5035718, at *3 (E.D. Tex. Oct. 8, 2014)

(“Courts often find the stage of litigation weighs in favor of a stay if there remains a significant

amount of work ahead for the parties and the court, even when the parties and/or the court have
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already devoted substantial resources to the litigation.” (internal citations omitted)).

       The claim construction hearing is not set until October 5, 2023, Dkt. 55, whereas the PTO

has instituted IPR of the ’912 patent, Exs. 4, 6, and will be issuing institution decisions for the

’417 and ’215 patents by August 2023. The case is also still in the early stages of fact discovery,

with no depositions having occurred yet, and the close of fact discovery scheduled for November

13, 2023. Dkt. 55. The April 15, 2024 trial is nearly entire year away. Id. This case is at an

ideal stage for a stay. See, e.g., VirtualAgility Inc., 759 F.3d at 1315-17 (affirming that a stay

pending administrative review is proper where “the deadline to complete fact discovery was

more than six months away,” “the joint claim construction statements had yet to be filed,” and

“jury selection was a year away”). A stay would not only avoid the risk of relitigating claim

construction and engaging in unnecessary discovery, but the final decisions of the PTAB (along

with Samsung’s motion for summary judgment, Dkt. 81) may dispose of the entire case.

V.     CONCLUSION

       Samsung respectfully requests that the Court grant its motion to stay this case until a final

decision in the IPRs currently pending at the PTAB with respect to each of the asserted patents.



 Date: June 15, 2023                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on June 15, 2023. As of this date, all counsel

of record have consented to electronic service and are being served with a copy of this document

through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).


                                                    /s/ Michael J. McKeon



                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rules CV-7(h) and (i), counsel for the parties met and conferred

telephonically on June 15, 2023. Jennifer Truelove participated for Plaintiff; Melissa Smith

participated for Samsung. The parties discussed their positions on this motion. The discussions

conclusively ended in an impasse, leaving an open issue for the court to resolve. Counsel for

Plaintiff indicated that Plaintiff opposes this motion. Micron does not oppose this motion.


                                                    /s/ Michael J. McKeon




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